      Case: 4:20-cv-00101-MPM-JMV Doc #: 21 Filed: 08/28/20 1 of 1 PageID #: 270




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 GREENVILLE DIVISION

JOHNNY MIMS                                                                           PLAINTIFF

VS.                                             CIVIL ACTION NO.: 4:20-cv-101-MPM-JMV

YUM! BRANDS, INC. et al.                                                          DEFENDANTS

                                    ORDER STAYING CASE

        This matter is before the court following a telephonic status conference to discuss the [16]

notice of suggestion of bankruptcy filed on July 13, 2020 by NPC International, Inc., a defendant

in this case. Consistent with the court’s [20] minutes, this action is hereby STAYED until further

notice of the court.

        The plaintiff shall provide informal status reports via email, copying all counsel, advising

the court of the status of the bankruptcy proceedings--pending versus not pending--every one

hundred and twenty (120) days. Provided further, the court is to be notified promptly of any change

in status of bankruptcy affecting this case.

        SO ORDERED, this the 28th day of August, 2020.


                                               /s/ Jane M. Virden
                                               UNITED STATES MAGISTRATE JUDGE
